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                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,
                                         Plaintiff



 RAJ PATEL,                                              No. 1:20-cv-07311-LAK
                            Intervenor-Plaintiff


           v.


 DONALD J. TRUMP, in his personal
 capacity,
                               Defendant


        RAJ PATEL’S (PRO SE) MOTION FOR PERMISSIVE INTERVENTION

       I, Raj K. Patel (pro se), respectfully move this Southern District Court of New York to

grant Fed. R. Civ. P. 24(b)(1)(B) permissive intervention because I “share” with Ms. E. Jane

Carroll’s main action a “common” question of law or fact related to defamation, slanderous

statements. Fed. R. Civ. P. 24(b)(1)(B); Notice of Removal, Carroll v. Trump, No. 1:20-cv-

07311-LAK (S.D.N.Y. 20__), Dkt. 1; and 28 U.S.C. § 2674 (“Federal Torts Claims Acts”)

(“FTCA”). In addition, I argue that Mr. Trump violated laws of of R.I.C.O., honest services

fraud, intellectual property, and the unjust use of a stress weapon (i.e. battery with sound). Art.

17, § 2 of the Universal Declaration of Human Rights (UDHR) of the United Nations; 18 U.S.C.

§§ 1961–1968 and 1343–1346; United States v. Nixon, 418 U.S. 683 (1974); see also Compl. at

131 and 137-160, Doe et al. v. The Trump Corp. et al., No. 1:18-cv-09936-LGS (S.D.N.Y.

____), Dkt. 1. Motions drafted by pro se plaintiffs “are construed liberally and held to a less

stringent standard than formal pleadings drafted by lawyers.” Perez v. Fenoglio, 792 F.3d 768,


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776 (7th Cir. 2015) cited in Cobb v. Benjamin, 1:20-cv-01303-JPH-DML, ROSS 13521336 (S.D.

Ind. 2020); see also Gould v. Schneider, 448 F. App’x. 615 (7th Cir. 2011) quoting Fed. Exp.

Corp. v. Holowecki, 552 U.S. 389, 402 (2008); Erickson v. Pardus, 551 U.S. 89, 94 (2007);

McNeil v. United States, 508 U.S. 106, 113 (1993). For the reasons discussed herein, I

respectfully request that this Southern District Court of New York to allow my motion for

permissive intervention. In this motion, I include a factual background and an argument in favor

of granting my appeal.

                                  FACTUAL BACKGROUND

        Ms. E. Jean Carroll, the plaintiff in the main case, published a book excerpt, in 2019, in

which she wrote Mr. Donald J. Trump, who was not yet elected to the United States Presidency,

raped her in a dressing room of a New York City department store, in the 1990’s. Opinion,

Carroll v. Trump, No. 1:20-cv-07311-LAK (S.D.N.Y. 20__), Dkt. 32 at 3, para. 1. After the

book was published, now-President Trump called Ms. Carroll “a liar,” in addition to stating that

she “had made up the rape story” and “he never met her.” Id. at 3, para. 1. In response to Mr.

Trump’s comment, Ms. Carroll sued Trump for “libelous and slanderous” defamatory

statements. Id. at 3, para. 1. Material to the defamation case, “[t]he question whether Mr. Trump

in fact raped Ms. Carroll appears to be at the heart of her lawsuit. That is so because the truth or

falsity of a defendant’s alleged defamatory statements can be dispositive of any defamation

case.” Id. at 3, para. 2. Ms. Carroll seeks damages from Mr. Trump rather than the United States.

Id. at 3, para. 3.

        While Mr. Trump and I might agree that we have never met, except in a political

convention in which I was in the general audience and which he was the keynote speaker, I do

not agree that he did not batter me or slander or defame me. In the alternative, to answer the



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question to my slander and defamation in fact, Donald J. Trump in his presidential capacity or in

his presidential capacity, might have to plead state-induced “pains,” for which I was not given

Due Process. 42 U.S.C. § 1981 (“…pains…”) (currently, a ringing sound which mocks a tinnitus

infection). See infra, p. 4.

        On October 27, 2020, I read the news coverage about Ms. Carroll’s action, which serves

as the main action in my motion for intervention.

        In a related case, on October 29, 2018, Doe and her co-plaintiffs (“Doe et al.”) filed a

class action lawsuit of eight counts against now-President Trump, in his personal capacity,

Donald Trump, Jr., Ivanka Trump, Eric Trump, and the Trump Corporation, and I argue that of

the eight counts are common, per the Fed. R. Civ. P. 24(b)(1)(B), with my matter. Compl., Doe

et al. v. The Trump Corp. et al., No. 1:18-cv-09936-LGS (S.D.N.Y. ____), Dkt. 1. Doe et al.

seek various forms of damages, including equitable relief and compensatory and actual damages.

Id.

        In 2016, I noticed a few times on television that Mr. Trump eluted to a scenario which

made me further suspicious about my privacy. At this point, I thought that President Trump (1)

engaged in an “enterprise” with Notre Dame Law School and others, which breached my

privacy, (2) embedded in the aforementioned (1) and independently, defrauded and “deprive[d]”

me of honest services, through a “scheme or artifice,” under sections 1341–1351 of Title 18 of

the United States Code (within a governmental system that is for and by the people), and (3)

together with aforementioned (1) and (2) and independently, took my intellectual property (my

unique word patterns, including what I said in seclusion with no other person or hearing device

in plain eye-sight). 18 U.S.C. §§ 1961(4) and 1346 and see infra, p. 6 (comment on “just

compensation” and disciplinary efforts and “slavery” and “involuntary servitude”) and see




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generally infra (other possible claims). I seek identical relief as mentioned in Doe et al.’s main

complaint.

       In 2017, I do not remember, at this time, President Trump’s role in the enterprise, but I

remember a few Notre Dame professors saying my word patterns before class started, and some

of those word patterns came from a conversation, with an insubordinate undertone, in 2014 with

Dr. Ajay Nair (as far as I know, Pennsylvania State University with Ph.D. degree in Education

and bachelor’s degree in psychology) (Ajay calls judges and justices “mentally disabled, not

smart,” which I, after legal provocation, verbally-attack him; I solemnly believe that a transcript

exists of this conversation and that Mr. Trump, Emory Law School, Notre Dame Law School

professors, corporate police, and the enforcers of this slander have imminent access to it.), now-

President of Arcadia University in Glenside, Pennsylvania and former Dean of Campus Life at

Emory University, Inc. in Atlanta, GA and my then-horizontal and vertical subordinate, the

institution where I served as a corporate officer/President of the Student Government

Association/Student Body President and graduated with an “A” average (3.72/4.0 G.P.A.) and

with a Bachelor of Arts in Political Science and with Honors in the Academic Study of Religion.

Art. 26, § 2 of the Universal Declaration of Human Rights (UDHR) of the United Nations. At the

Oxford College of Emory University, from 2011 to 2012, I was also a politically independent

member of the Oxford College Republicans and served as the club’s Vice President of Finance. I

was also a supplemental instructor of probability and statistics at Oxford College. Most

importantly, for the times I served in student government or in a club leadership, I felt like that

my rights as a co-leader from The Declaration of Independence (U.S. 1776) (i.e. right to

represent in a charter and freedom from interference in a charter) and my rights as a student from

the Declaration of Independence (1776) (i.e. right to be represented in a charter) were violated,




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which are fundamentally essential for my “[S]afety and [H]appiness.” The Declaration of

Independence (U.S. 1776). Bostock v. Clayton County of Georgia, 590 U.S. ___ (2020) (literal

and ordinary debate).

       In 2018, I noticed that President Trump used my exact word patterns, an identical

phenomena, as aforementioned, to what was happening in his environs at the University of Notre

Dame Law School in Notre Dame, Indiana prior to the time period I took a voluntary separation

in good standing, in November 2017, during my fifth semester of law school, which I started in

August 2015, with a scholarship from the Notre Dame Law School and a scholarship from the

Indiana Conference of Legal Education Opportunity administered by the State of Indiana

Supreme Court. My classmates and roommates would be able to serve as witnesses, though I

think that some of my roommates were asked to participate in this situation. Needless to say,

because the United State Secret Service, along with the Federal Bureau of Investigations

(“F.B.I.”), and other federal military and civilian agencies, shares responsibility for the security

of the many United States Presidential Candidates and the President of the United States, I knew

that federal law enforcement is aware that my words patterns were being transferred to President

Trump, with or without legal authorization. The transfer of word/data can be happening through,

including but limited to, beaming (e.g., satellite, radio, soundwaves, etc.) or wire (e.g. internet,

telecommunications, etc.). Cf. To-be-First Lady Melina Trump recites, at the 2016 Republican

National Convention, identical word patterns from First Lady Michelle Obama’s speech at the

2008 Democrat National Convention, in which word patterns are not exactly identical but might

be paraphrased, which demonstrates a campaign and Administration style. I also think that

telecommunication companies (including cell-site simulator companies) or the F.B.I. is

facilitating this enterprise; alternatively, state or local authorities, National Guard, community




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informants (As former U.S. Vice President, former U.S. Senate President, and current 2020 U.S.

Presidential Candidate Joe Biden might ask, do the selected community informants create or aim

to create monolithism, with the use of a stress weapon, as being one of their tactics to create their

ideal, utopian monolith? For instance, do the F.B.I.-Multi-Cultural Engagement Council

(MCEC) and the community informants have social targets to re-rank their monoliths?), a private

business, cultural police, or any person with paramilitary technologies can be facilitating this

enterprise with President Trump is and was partaking. U.S. const. amend. II. See also

“monolithism” in Merriam-Webster.com Dictionary (1828) (“the quality or state of being

monolithic… where political monolithism inevitably leads”). See also “umma” Lexico.com

powered by Oxford U. Press (2020) (“The whole community of Muslims bound together by ties

of religion”…‘In Medina, [Prophet] Mohammed established an ummah, a Muslim community,

with every aspect of life - political, religious, social and economic - subject to Islamic

teaching.’”). See also “Community Outreach” webpage at

https://www.fbi.gov/about/community-outreach:

       The Multi-Cultural Engagement Council (MCEC) is composed of community
       ethnic, religious, and minority leaders who help the FBI better understand the
       cultures and committees they represent. The mission of the MCEC is to provide a
       trusting environment that allows council members to discuss issues and concerns
       within their communities and collaborate with the FBI to identify solutions. The
       MCEC helps build strong relationships between communities and the Bureau.

But see Declaration of Independence (Ajay Nair and many other non-elected and non-appointed

officials as community informants would be in violation of this Text, “deriving their just powers

from the consent of the governed…To prove this, let Facts be submitted to a candid world.”). See

also Art. 18 & 29 of the Universal Declaration of Human Rights (UDHR) of the United Nations.

       Sometimes, though never from President Trump (R) nor Speaker Pelosi (D), the

sound/tones of the words is supposed to trigger a whip/battery. The academic study of political



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science and political psychology calls this phenomena “word whipping” or “word lash” (a person

must first be infected with a psycho-tech) and military psychology has analogous applied and

executed functions. As a side note, I am not sure if the initiative of word whipping/lashing, as a

matter of policy, belongs to a political party, a corporation, a home-grown terrorist group (i.e.

within and from person’s home, within the Homeland, etc.), a charted cultural group, a state of

the United States, the United States, or a foreign power. See also Goldwater v. Ginzburg, 414

F.2d 324, 337 (2d Cir. 1969), cert. denied, 396 U.S. 1049 (defendants found guilty for

compensatory and punitive damages for actual malice libel case with the use of tactical

psychology). Nonetheless, as in aforementioned (3), my verbatim word patterns were taken from

me, but if they were taken for public use, including but not limited to disciplinary or correctional

efforts, I did not have “just compensation,” pursuant to the Fifth Amendment or the Fourteenth

Amendment of the United States Constitution. U.S. const. amend. V and XIV. Theft or taking

also necessitates a breach of the Fourth Amendment. U.S. const. amend. IV. Overall, I think that

some thing [sic] has been misapplied or mis-enforced, and I do not know what I did to deserve

this inducement and delay in my career. I also think that this situation violates the prohibition on

“cruel and unusual” punishment because it permanently lowers my grades and impacts my career

and social status, in the domestic and foreign contexts. U.S. const. amend. VIII; U.S. const. art.

IV, § 2, cl. 2 (“Comity Clause” or “Doctrine of Comity” or “Privileges & Immunities Clause”);

U.S. const. amend. XIV, § 1 (“Privileges & Immunities Clause”); and U.S. const. art. IV, § 2

(“Full Faith & Credit Clause”). I believe that all behavior was unlicensed or illegal some other

way. See also Id. and 42 U.S.C. § 1981 (“…pains…”). See generally 42 U.S.C. §§ 9501 et seq.

(Mental Health “Bill of Rights”), 9501(1)(A)(i) – (ii), & (2)(A). Based on my observations, I am

able to send a possible implementation of depression/anxiety/stress, to this court.




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       In many folds, should this be a Taking, because the Taking was continuous or forcibly

used for corrections, in addition to other crimes, I feel that my situation is one of “slavery” or

“involuntary servitude.” U.S. const. amend. XIII; see also 42 U.S.C. §§ 1981(a)-(c) (“Equal

rights under the law”), 1982 (“Property rights of citizens”), and 1983 (“Civil action for

deprivation of rights”). See also “slavery” in Merriam-Webster.com Dictionary (1828) (“the

practice of slaveholding…the state of a person who is a chattel of another…submission to a

dominating influence”) and “involuntary servitude” in West’s Encyclopedia of American Law,

retrieved August 2020 from Encyclopedia.com (“slavery; the condition of an individual who

works for another individual against his or her will as a result of force, coercion, or

imprisonment, regardless of whether the individual is paid for the labor.”). See also Arts. 1-12 &

22 of the Universal Declaration of Human Rights.

       Should my case at hand entail medical attention, all medical attention was unconsented

and unnecessary and based on false information. Collins v. Thakkart, 552 N.E.2d 507 (Ind. Ct.

App. 1990) (intentional, unconsented medical procedure through intimately connected object

was battery, unlawful touching of another person). Section 9501 preempts Indiana State

constitution and law, per the Supremacy Clause, and is a part of Due Process and Amendment

IX, and furthers the general United States constitutional rights to medical privacy and to refuse

medical care. Griswold v. Connecticut, 381 U.S. 479 (1965); Cruzan v. Director, Missouri Dept.

of Health, 497 U.S. 261, 270 (1990); U.S. const. art. VI, cl. 2; and Id. amends. V, IX, & XIV.

See also 42 U.S.C. § 9501(2)(A). Section 9501 refers to the President’s Commission on Mental

Health. 42 U.S.C. § 9501, para. 1.

       President Trump, who succeeded President Obama, is the Head of State of the United

States and the Head of Government of the United States who took an oath, administered by Chief




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Justice of the United States John Glover Roberts Jr., to Take Care and Enforce the United States

Constitution and its laws. U.S. const. art. II, § 3. Defendants Donald Trump Jr. and Ivanka

Trump are both policy advisors at the White House with the Trump Administration. Defendant

Eric Trump is continuing his work at The Trump Corporation, and he is not listed as a policy

advisor for the White House. Moreover, Vice President Pence could have brought this situation

from Indiana, where we both live, or Indiana State Capitol, where we both used to work, to the

White House.

       The privacy breach has not only defrauded me of President Trump’s honest public

service to protect me but also caused a loss in business opportunity and harassment by knowing

that my intellectual property has been taken from me. See 42 U.S.C. § 1982.

       Several times in 2018, 2019, and 2020, I contacted the White House through its website

to ask President Trump, both in his official capacity as President of the United States and in his

personal capacity, to see whether he was aware of my situation, but I received no explicit

answer.

       President Trump can trigger “need to know” and terminate the on-going privacy breach

and electronic battery; or, President Trump should have ordered the United States Attorney

General, as is President Trump’s power, to investigate this on-going R.I.C.O. enterprise and

situation. 18 U.S.C. § 1968 and 42 U.S.C. § 1983.

       In 2018 and 2019, I moved President Trump, the Oval Office, and the Court of the West

Wing to Order a restoration of my rights and to be free from this privacy breach and enterprise

and to ensure that private enforcement companies, working for a political or personal rival, were

not harassing me, including for the reason to reduce the chances of me holding political office

one day, which is a form of unlawful political succession planning. 18 U.S.C. §§ 1964(b), 1968,




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and 1343. See also Arts. 12, 13, 17, 20, 25, 26, and 27, International Covenant on Civil and

Political Rights (ICCPR), United Nations General Assembly Resolution 2200A (XXI). I also

moved the United States Senate and its committees and the United States House of

Representative and its committees. As I informed President Trump and Speaker Pelosi, I co-

founded the Indiana High School Democrats-Young Democrats of America (Y.D.A.) and was

later Vice Chair of the Indiana High School Democrats. While I want to keep the word patterns

and scenario as sensitive information, I would like to state that the content of the word patterns is

non-profane and non-explicit. Nonetheless, the word patterns were used to batter/whip me via

the soundwaves as a part of this enterprise or scheme.

       Other knowledgeable parties include Vice President Mike Pence (who is from the same

state, Indiana, as me, the Intervenor), Emory University, Inc. (Atlanta, Georgia) officials,

University of Notre Dame (South Bend, Indiana) administration and professors, F.B.I., family

members, family friends, and acquaintances, and I sued many of them in the Southern District of

Indiana in Indianapolis, Indiana. See generally Raj Patel v. Pikul Patel, Indianapolis Metro.

Police Dep’t, Governor Eric Holcomb, Claire Sterk, United States, Ne[a]l Patel, Shiven Patel,

Vice President Michael R. Pence, Kartik Patel, Brownsburg Police Dep’t, State of Indiana,

Veronica Root Martinez, Kusum Patel, Speaker Nancy Pelosi, Ajay Nair, Mick Mulvaney, Emory

Univ., Brownsburg Cmty. Sch. Corp., F.B.I., Lloyd H. Mayer, Barbara J. Fick, Kristin Pruitt,

Ramesh Patel, Manisha Patel, Univ. of Notre Dame Law Sch., Kshitij [“Situ”] Mistry, and

President Donald J. Trump, No. 1:2020-cv-00758 (S.D. Ind. Mar. 9, 2020); see also Patel v.

Trump. et al., No. 1:2020-cv-00454 (S.D. Ind. Feb. 19, 2020); Raj Patel v. F.B.I., Univ. of Notre

Dame Law Sch., Emory Univ., Indianapolis Metro. Police Dep’t, and Brownsburg Police Dep’t,

No. 1:2018-cv-03442 (S.D. Ind. Nov. 13, 2018); Raj Patel v. F.B.I., Kartik Patel, Indianapolis




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Metro. Police Dep’t, and Brownsburg Police Dep’t, No. 1:2018-cv-03443 (S.D. Ind. Nov. 13,

2018); Raj Patel v. F.B.I., Indianapolis Metro. Police Dep’t, and Brownsburg Police Dep’t, No.

1:2018-cv-03441 (S.D. Ind. Nov. 13, 2018). Prior to suing in the Indiana federal court, on

August 23, 2018, the Superior Court of Hendricks County, Indiana granted me a protective order

against Mr. Kartik Patel, my father. Patel, Raj v. Patel, Kartik, No. 32D05-1808-PO-000372

(Ind. Super. Ct. 2018). At the time I filed for a protection order against Kartik, I should have also

moved the court for a protective order against Manisha Patel, my mother. Nonetheless, on July 7,

2020, I did move the Indiana Superior Court for a protective order against Manisha, and the court

denied my complaint for a protective order, on August 4, 2020. Patel, Raj v. Patel, Manisha, No.

32D04-2007-PO-000276 (Ind. Super. Ct. 2020).

       These other knowledgeable parties are the individuals that President Trump, with or

without actual knowledge, engaged in an “enterprise” with to defraud me and put me in a state of

psychological warfare and deprived me of honest services. 18 U.S.C. §§ 1961 and 1346 and 42

U.S.C. § 1983. Nonetheless, the application and enforcement of a stress weapon on a citizen of

the United States, including those in civil incapacitation, violated Original Intent of the Founding

Fathers and Framers of the Constitution (1789) and appears in the Privileges and Immunities

Clause, Article IV, Section 2, applicable to states and the federal governments and their

chartered entities. Thomas Jefferson introduced in the Virginia General Assembly and the

Assembly passed “A Bill for Establishing Religious Freedom, 18 June 1779”:

           Well aware that the opinions and belief of men depend not on their own will,
       but follow involuntarily the evidence proposed to their minds; that Almighty God
       hath created the mind free, and manifested his supreme will that free it shall
       remain by making it altogether insusceptible of restraint; that all attempts to
       influence it by temporal punishments, or burthens, or by civil incapacitations, tend
       only to beget habits of hypocrisy and meanness, and are a departure from the plan
       of the holy author of our religion,...that our civil rights have no dependance
       [sic] on our religious opinions, any more than our opinions in physics or



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geometry; that therefore the proscribing any citizen as unworthy the public
confidence by laying upon him an incapacity of being called to offices of trust and
emolument, unless he profess or renounce this or that religious opinion, is
depriving him injuriously of those privileges and advantages to which, in common
with his fellow citizens, he has a natural right; that it tends also to corrupt the
principles of that very religion it is meant to encourage, by bribing, with a
monopoly of worldly honours and emoluments, those who will externally profess
and conform to it; that though indeed these are criminal who do not withstand
such temptation, yet neither are those innocent who lay the bait in their way; that
the opinions of men are not the object of civil government, nor under its
jurisdiction; that to suffer the civil magistrate to intrude his powers into the field
of opinion and to restrain the profession or propagation of principles on
supposition of their ill tendency is a dangerous falacy [sic], which at once
destroys all religious liberty, because he being of course judge of that tendency
will make his opinions the rule of judgment, and approve or condemn the
sentiments of others only as they shall square with or differ from his own; that it
is time enough for the rightful purposes of civil government for its officers to
interfere when principles break out into overt acts against peace and good order;
and finally, that truth is great and will prevail if left to herself; that she is the
proper and sufficient antagonist to error, and has nothing to fear from the conflict
unless by human interposition disarmed of her natural weapons, free argument
and debate; errors ceasing to be dangerous when it is permitted freely to
contradict them.
     We the General Assembly of Virginia do enact that no man shall be compelled
to frequent or support any religious worship, place, or ministry whatsoever, nor
shall be enforced, restrained, molested, or burthened in his body or goods, nor
shall otherwise suffer, on account of his religious opinions or belief; but that all
men shall be free to profess, and by argument to maintain, their opinions in
matters of religion, and that the same shall in no wise diminish, enlarge, or affect
their civil capacities.
     And though we well know that this Assembly, elected by the people for the
ordinary purposes of legislation only, have no power to restrain the acts of
succeeding Assemblies, constituted with powers equal to our own, and that
therefore to declare this act irrevocable would be of no effect in law; yet we are
free to declare, and do declare, that the rights hereby asserted are of the
natural rights of mankind, and that if any act shall be hereafter passed to repeal
the present or to narrow its operation, such act will be an infringement of natural
right. Acts passed at a General Assembly of the Commonwealth of Virginia,
Richmond: Dunlap and Hayes [1786], 26–7 cited in “82. A Bill for Establishing
Religious Freedom, 18 June 1779,” Founders Online, National Archives,
https://founders.archives.gov/documents/Jefferson/01-02-02-0132-0004-0082
citing The Papers of Thomas Jefferson, vol. 2, 1777 – 18 June 1779, ed. Julian P.
Boyd. Princeton: Princeton University Press, 1950, 545–553.




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In Federalist No. 42, James Madison, Father of the Constitution, states that “[t]hose who come

under the denomination of free inhabitants of a State, although not citizens of such State, are

entitled, in every other State, to all the privileges of free citizens of the latter; that is, to greater

privileges than they may be entitled to in their own State…” Federalist No. 42. In Federalist No.

80, James Madison states that the Privileges and Immunities Clause is “the basis of the union.”

Federalist No. 80. The Supreme Court, in Corfield v. Coryell, 6 F. Cas. 546 (1823), also states

that the Privileges and Immunities Clause, U.S. Constitution Article IV, Section 2, Clause 2 also

includes the “Protection by the government; the enjoyment of life and liberty, with the right to

acquire and possess property of every kind, and to pursue and obtain happiness and safety;

subject nevertheless to such restraints as the government may justly prescribe for the general

good of the whole.” Corfield v. Coryell, 6 F. Cas. 546 (1823) (Washington, J.) (emphasis added)

and U.S. const. art. IV, § 2, cl. 2 (“Privileges & Immunities Clause”); see also U.S. const.

amend. XIV, § 1 (“Privileges & Immunities Clause”), 42 U.S.C. §§ 1981-1983. On July 12,

1816, Thomas Jefferson said to Samuel Kercheval, also known as H. Tompkinson, the following,

which advocates for remedying the use of psychological weapons, such as the stress weapon:

        I am certainly not an advocate for frequent and untried changes in laws and
        constitutions. I think moderate imperfections had better be borne with; because,
        when once known, we accommodate ourselves to them, and find practical means
        of correcting their ill effects. But I know also, that laws and institutions must go
        hand in hand with the progress of the human mind. As that becomes more
        developed, more enlightened, as new discoveries are made, new truths disclosed,
        and manners and opinions change with the change of circumstances, institutions
        must advance also, and keep pace with the times. We might as well require a man
        to wear still the coat which fitted him when a boy, as civilized society to remain
        ever under the regimen of their barbarous ancestors. Thomas Jefferson to Samuel
        Kercheval. The Thomas Jefferson Papers at the Library of Congress, Series 1:
        General Correspondence 1651 to 1827, Retrieved from the Library of Congress,
        https://www.loc.gov/item/mtjbib022494/.




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       As aforementioned, this enterprise was ongoing when I was enrolled at the University of

Notre Dame Law School, from August 2015 to November 2017, in order to decrease my

academic performance and social performance. Per my academic performance, grade deflation

happened by inducing stress, via a “stress weapon,” rather than by professors lowering my grade,

although that too could have happened along with the inducement of stress. Materially put, on

the Notre Dame Law School grading curve, which limits the number of honorable grades (e.g.

“A,” “A-,” and “B+”) and which varies based on class size, scientifically-statistically stated, a

handful of my fellow gradees and classmates, effectively, have a higher grade than they

otherwise would but for the inducement of stress, and many of my fellow gradees and classmates

have a relatively higher academic and social standing than they otherwise would but for the

inducement of stress, which all also entails to appropriating my identity. Contra “dyslexia” as a

political disease; see “dyslexia” in Lexico.com powered by Oxford U. Press (2020) (“A general

term for disorders that involve difficulty in learning to read or interpret words, letters, and other

symbols, but that do not affect general intelligence.”); see also “stress” in Id. (“Pressure or

tension exerted on a material object…‘the distribution of stress is uniform across the bar’…‘The

degree of stress differs in each specific case’…‘he’s obviously under a lot of stress’…‘the

stresses and strains of public life’…‘he has started to lay greater stress on the government’s role

in industry’”). Compare Id. with “terrorist” in Lexico.com powered by Oxford U. Press (2020)

(“The search is on for the terrorists and politicians are trying to calm the public

down.’…‘Terrorism is not a nation and terrorists are not an army that you can send troops

against.’…‘The great and the good are telling us that we must not change policy in deference to

terrorists.’…‘Most terrorists know exactly what they are doing and the effect they want to

produce.’…‘The biggest danger to society is what would happen if these terrorists did get their




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own way.’…‘I believe what they mean is that they are fighting terrorists and leaving them no

safe haven.’…‘I could see real terror on their faces and thought it might be a terrorist attack.’)

and (Is the word “stressors” an euphemism for “terrorizers” or “terrorists?”). See Foreign Com.

Cl., U.S. const. art. I, § 8, cl. 3. But for this peril/conspiracy/assault/battery, I would have easily

had a cumulative grade point average of 4.0 to 3.5 out of a 4.0, while maintaining my rigorous

exercise schedule. 18 U.S.C. §§ 111 et seq.; 175 et seq., 1961 et seq., 1951 et seq., and 2510 et

seq. and 42 U.S.C. §§ 1981-1983. Nonetheless, I was elected by my law school peers as a

Representative to the Indiana State Bar Association from the Notre Dame Law School Student

Bar Association.

        In addition, one of the purposes of the enterprise might be to target me politically,

especially because my honor’s thesis, titled “Weight Loss as a Religion,” was supported by Faith

Spotted Eagle, a 2016 United States Presidential Candidate from the Democratic National

Committee and receiver of one (1) vote from the constitutionally-established Electoral College

(my honors thesis and Faith’s activism to end biological-warfare and heal post-traumatic stress

disorder can be categorized under Commander-in-Chief Barack Obama’s policy or law on

identity politics). In fact, I had lost 50 pounds during the freshman year of my high school, from

200 pounds to 150 pounds. During the first two years of my college, I gained weight, about 30 to

40 pounds, and I lost this weight, before my junior year, which was primarily through P90X.

Therefore, because of my recent severe weight gain (almost 150 pounds of fat mass) caused by

this stress weapon, which started a few months prior to my voluntary separation of leave in good

standing, but exceptionally after May 2018, I feel a loss of legitimacy, personal achievement,

embarrassment, health, athleticism, beauty, and personal satisfaction. In fact, I was at my fittest,

through cardiovascular activities and weight lifting, from April 2015 to February 2016. As this




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situation was on-going prior to writing and getting approved my honors thesis, I do not think that

my scholarship made me a target of this stress weapon, but maybe a group read my scholarship

incorrectly. U.S. const. amend. I. Maybe the stress weapon is the next edition of discrimination

at universities, including against Asian-Americans. Anemona Hartocollis and Giulia McDonnell

Nieto del Rio, “Justice Dept. Says Yale Discriminates. Here’s What Students Think.,” New York

Times: https://www.nytimes.com/2020/08/14/us/yale-asian-american-discrimination.html.

       Overall, since November 2017, I have taken unplanned and unwanted time off of law

school which unduly and unwantedly effects my career timeline and unjustly limits my career

choices, which all also causes me extreme emotional distress. Interestingly, the average cost of

keeping a state prisoner is $31,000, from the year 2010 to 2015, across the Sister States. Chris

Mai and Ram Subramanian, The Price of Prisons, Examining State Spending Trends, 2010-2015,

Vera Institute of Justice: https://www.vera.org/publications/price-of-prisons-2015-state-

spending-trends. In federal prison, the average cost per inmate, in FY 2017, was $36,299.25.

“Annual Determination of Average Cost of Incarceration,” Bureau of Prisons, Department of

Justice, 83 FR 18863 (April 30, 2018). Although state and federal prison and civil incapacitation

and civil confinement are different, I had the undue burdens of paying for the cost of this civil

incapacitation, which unduly changes my commercial participation for this time period and

afterwards, and, unlike in federal or state prison cases, taxpayers only paid mild costs. U.S.

const. amends. XIII and XIV. Mind you, I neither abused study drugs nor have committed any

crime which could have caused this situation.

       On May 22, 2020, I filed a Motion of Intervention with the Clerk of the Southern District

Court of New York in Doe et al. v. The Trump Corp. et al., No. 1:18-cv-09936-LGS (S.D.N.Y.




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____). Id., Dkt. 268. On May 26, 2020, Judge Lorna G. Schofield DENIED my application and

motion for intervention, and she said, entirely, that

       Mr. Patel’s allegation that President Trump “engaged in an ‘enterprise’ with Notre
       Dame Law School, which breached his privacy, defrauded and ‘deprive[d]’ Mr.
       Patel of honest services, through a “scheme or artifice…and took his intellectual
       property (his unique word patterns, including what he said in seclusion with no
       other person or hearing device in plain eye-sight)” does not demonstrate a
       common question of law or fact sufficient to grant permissive intervention. See
       Fed. R. Civ. P. 24(b).

Doe v. The Trump Corp., No. 20-1706 (2d Cir. ____), Dkt. 2 at 6; see also Doe et al. v. The

Trump Corp. et al., No. 1:18-cv-09936-LGS (S.D.N.Y. ____), Dkt. 272 at 6.

       On May 27, 2020, I filed a Notice of Appeal, with the Clerk of the Southern District of

Court of New York. Notice of Appeal, Doe et al. v. The Trump Corp. et al., No. 1:18-cv-09936-

LGS (S.D.N.Y. ____) at Dkt. 275 (docketed on May 28, 2020). On May 28, 2020, the Clerk of

the Southern District of Court of New York transferred to this Court’s clerk the Notice of

Appeal. Notice of Appeal at 3, Doe v. The Trump Corp., No. 20-1706 (2d Cir. ____), Dkt. 1 and

Doe et al. v. The Trump Corp. et al., No. 1:18-cv-09936-LGS (S.D.N.Y. ____) at Dkt. 275.

       On June 9, 2020, I filed Dkt. No. 8, the original Motion in Support of My Notice of

Appeal (Pro Se) seeking to Overturn the Southern District Court of New York’s Denial of My

Motion for Permissive Intervention. Mot. in Support of Dkt. 1, Doe v. The Trump Corp., No. 20-

1706 (2d Cir. ____), Dkt. 8.

       On June 18, 2020, I filed Dkt. No. 28, a motion for expedited decision on Dkt. No. 8. Doe

v. The Trump Corp., No. 20-1706 (2d Cir. ____), Dkt. 28 and see also Id. at Dkt. 8.

       On July 1, 2020, I sued Manisha and others for acts related to assault/battery, extreme

emotional distress, damages to reputation, slander, honest services fraud, R.I.C.O. with

assault/battery as the predicate crime. 28 U.S.C. § 2674; Arts. 12 & 22 of the Universal




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Declaration of Human Rights (UDHR) of the United Nations and Raj Patel v. Manisha Patel,

Kartik Patel, Charmi Patel, Nina Patel, Neal Patel, Dhaval Patel, Ajay Nair, Emory Univ., and

President Donald J. Trump, No. 1:20-cv-1772-TWP-MPB (S.D. Ind. ____), Dkt. 1 at 7-9. I sued

President Trump because I wanted him to know about these happenings, while I could have been

under surveillance, and maybe the Presidency is a co-conspirator in this action. Id. Patel v. Patel

et al., No. 20-2713 (7th Cir. ____).

       On July 9, 2020, I filed Dkt. No. 32, a three-page letter addressed to Hon. Victor Marrero

with copies sent to this court and two other courts. Doe v. The Trump Corp., No. 20-1706 (2d

Cir. ____), Dkt. 32; Trump v. Vance, No. 1:19-cv-08694-VM (S.D.N.Y. ____), Dkt. 45; Doe et

al. v. The Trump Corp. et al., No. 1:18-cv-09936-LGS (S.D.N.Y. ____) at Dkt. 289; and Trump

v. Vance, No. 19-3204 (2d Cir. ____) (not appearing on public docket). On July 13, 2020, Judge

Schofield ordered that I “shall file no further substantive filings in this action, pending resolution

of the appeal of this Court's Order at Dkt. No. 272.” Order at 2, Doe et al. v. The Trump Corp. et

al., No. 1:18-cv-09936-LGS (S.D.N.Y. ____) at Dkt. 290.

       On July 19, 2020, I filed an Amended Motion in Support of My Notice of Appeal (Pro

Se) Seeking to Overturn the Southern District Court of New York’s denial of My Motion for

Permissive Intervention. Amended Dkt. 8, Mot. in Support of Dkt. 1, Doe v. The Trump Corp.,

No. 20-1706 (2d Cir. ____), Dkt. 33 (docketed July 20, 2020).

       On October 9, 2020, the Court of Appeals for the Second Circuit DENIED my motion to

overturn the Southern District Court of New York and DISMISSED because it lacks an arguable

basis either in law or in fact. Doe v. The Trump Corp., No. 20-1706 (2d Cir. ____), Dkts. 47 and

48.




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       On October 12, 2020, I moved the United States Supreme Court for court-appointed

counsel and a writ of certiorari. Doe et al. v. The Trump Corp. et al., No. 1:18-cv-09936-LGS

(S.D.N.Y. 20__), appeal denied No. 20-1706 (2d Cir. 20__), pending cert., No. __-___ (U.S.

20__) and Motion for Court-Appointed Counsel, Doe et al. v. The Trump Corp. et al., No. __-

___ (U.S. 20__).

       As of October 27, 2020, in distribution of Peace and Order, this enterprise and situation is

mildly ongoing and began fifteen years ago (i.e. 2005 or before), which is approximately the

amount of time Doe et al. say they have been defrauded by President Trump’s enterprise with the

American Communication Network (A.C.N.). This motion for intervention follows.

                                          ARGUMENT

       Motions for Permissive Intervention drafted by pro se plaintiffs “are construed liberally

and held to a less stringent standard than formal pleadings drafted by lawyers.” Perez v.

Fenoglio, 792 F.3d 768, 776 (7th Cir. 2015) cited in Cobb v. Benjamin, 1:20-cv-01303-JPH-

DML, ROSS 13521336 (S.D. Ind. Aug. 07, 2020); see also Gould v. Schneider, 448 F. App’x.

615 (7th Cir. 2011) quoting Fed. Exp. Corp. v. Holowecki, 552 U.S. 389, 402 (2008); Erickson v.

Pardus, 551 U.S. 89, 94 (2007); McNeil v. United States, 508 U.S. 106, 113 (1993). Motions for

permissive intervention “must be construed so as to do justice.” Fed. R. Civ. P. 7(b) and 8(e). In

the second circuit, a district court’s decision to deny permissive intervention is reviewed for

abuse of discretion. Floyd v. City of New York, 770 F.3d 1051, 1057 (2d Cir. 2014) and United

States v. Glens Falls Newspapers, Inc., 160 F.3d 853, 854 (2d Cir. 1998). MasterCard Int’l Inc.

v. Visa Int’l Serv. Ass’n, 471 F.3d 377, 385 (2d Cir. 2006). “On timely motion, the court may

permit anyone to intervene who....has a claim or defense that shares with the main action a

common question of law or fact.” Fed. R. Civ. P. 24(b)(1). As a general matter, a question may




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be of either law or fact, or both—law and fact. A district court has a duty to grant permissive

intervention where the “legal issues are the same.” United States v. Local 638, Enterprise Ass’n

of Steam, etc., 347 F.Supp. 164, 166 (S.D.N.Y. 1972) (hereunto “Enterprise Ass’n”) and Nuesse

v. Camp, 385 F.2d 694, 704 (D.C. Cir. 1967). In other words, when the legal issues are the

“same,” the legal issues are to be treated as if they are “common.” Cf. Fed. R. Civ. P.

24(b)(1)(A); Enterprise Ass’n, 347 F.Supp. at 166. Enterprise Ass’n (S.D.N.Y. 1972) also

implies that “common” does not mean “same,” and “common” does not require a question from

the main action to be strongly analogous with the question in the intervenor’s claim for

permissive intervention to be granted. Id. at 166 and Nuesse, 385 F.2d at 694-704. The element

in the Fed. R. Civ. P. 24(b)(1)(B) that the intervenor shares with the main action a “claim or

defense” has not been interpreted strictly to preclude permissive intervention. Nuesse, 385 F.2d

at 704 and Fed. R. Civ. P. 24(b)(1)(B). Nor has this element that the intervenor shares with the

main action a “claim or defense” been “read in a technical sense.” Brooks v. Flagg Bros., Inc., 63

F.R.D. 409, 415 (S.D.N.Y. 1974) and Fed. R. Civ. P. 24(b)(1)(B). When a material fact in the

intervenor’s claim is shared with a fact in the main action, a common question of fact exists for

permissive intervention to be granted. See generally Nationwide Mut. Ins. v. Nat’l Reo Mgmt.,

Inc., 205 F.R.D. 1 (D.D.C. 2000) (internal citations omitted) (single similarity of facts between

the original plaintiff’s main action and the intervenor’s action satisfies the element of common

question of fact); see also EEOC v. Nat’l Child. Center, 146 F.3d 1042, 1047 (D.C. Cir. 1998)

(identity of defendants, functions of a space, and patterns of misconduct may constitute common

question of facts between the main action and the intervenor’s action); cf. when a material law in

the intervenor’s claim is shared with a law in the main action, a common question of law, fact, or

both, exists for permissive intervention to be granted. Therefore, intervention is “allowed” even




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in situations where the existence of any “nominate” ‘claim’ or ‘defense’ is difficult to find.

Nuesse, 385 F.2d at 704. A mere “presence of a question of law or fact” “common” with the

main action is sufficient for the District Court to grant intervention. Id. and Fed. R. Civ. P.

24(b)(1)(B). Overall, an intervenor can share a “common” claim or defense with the original

plaintiff through four (4) main possibilities. First, at plain reading, when the intervenor’s claim

or defense is “common” with the main action. Or, by satisfying one of the alternative legal

standards for interpreting “common” in the Fed. R. Civ. P. 24(b)(1)(B): (1) when the questions

are “common” because they are the “same”, (2) when the questions are “common” because they

are “nominate”-difficult-to-find (i.e. not-specific), or (3) when the questions are “common”

because there is a “presence” of alikeness between the main action and intervenor’s claim.

Nuesse, 385 F.2d at 704 and Enterprise Ass’n, 347 F.Supp. at 166. Intervention rests on the

policy that like matters be resolved together and that all parties are able to exercise their right to

sue. See generally Dred Scott v. Sandford, 60 U.S. (19 How.) 393 (1857), United States v. Nixon,

418 U.S. 683 (1974) (no person or no project/experiment is above the law, the Federalist

Project/Experiment), Clinton v. Jones, 520 U.S. 681 (1997) (president’s acts before becoming

president are not subject to immunity), and Nixon v. Fitzgerald, 457 U.S. 731 (1982) (immunity

limited to official acts).

    1.   My motion for intervention is timely for the District Court to allow permissive
         intervention.

         The timeliness of an application for intervention is evaluated “in the context of all

relevant circumstances,” including:

         (1) the point to which the suit has progressed; (2) the purpose for which intervention is
         sought; (3) the length of time preceding the application during which the proposed
         intervenors knew or should have known of their interest in the case; (4) the prejudice to
         the original parties due to the proposed intervenors’ failure to promptly intervene after




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        they knew or reasonably should have known of their interest in the case; and (5) the
        existence of unusual circumstances militating against or in favor of intervention.

Jansen v. City of Cincinnati, 904 F.2d 336, 340 (6th Cir. 1990); see United States v. City of

Detroit, 712 F.3d 925, 930-31 (6th Cir. 2013) (same).

        Here, the case is this is still pending and a final opinion has not been issued in Ms.

Carroll’s case. I seek intervention against the President of the United States, in his personal,

campaign and presidential capacity, to restore constitutional and legal protections and damages

for slander, battery, theft of intellectual property, and others. I decided to file this motion pro se

after I failed to find counsel and am waiting a decision from the Supreme Court in a related case.

Doe et al. v. The Trump Corp. et al., No. 1:18-cv-09936-LGS (S.D.N.Y. 20__), appeal denied

No. 20-1706 (2d Cir. 20__), pending cert., No. __-___ (U.S. 20__). Because of the material

common questions of law and fact related to Federal Torts Claims Act, the initial plaintiffs are

not likely to be prejudiced by me, who is filing as soon as I read the news coverage. In this

motion and the cases referenced above, I have represented myself, which is why I reason that

permissive intervention is favored. If required to file a separate suit, I would risk losing my right

to sue President Trump, which originates from the Magna Carta.

   2.    Ms. Carroll and I share “common” questions of law or fact that Mr. Trump slandered or
         defamed us, sufficient for permissive intervention to be granted.

        A district court has a duty to grant permissive intervention when the “legal issues are the

same” in the main action and the intervenor’s action. Enterprise Ass’n, 347 F.Supp. at 166 and

Nuesse, 385 F.2d at 704. In other words, when the legal issues are the “same,” the legal issues

are to be treated as if they are “common.” Enterprise Ass’n, 347 F.Supp. at 166; cf. Fed. R. Civ.

P. 24(b)(1). The element in the Fed. R. Civ. P. 24(b)(1) that the intervenor shares with the main

action a “claim or defense” has not been interpreted strictly to preclude permissive intervention.




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Nuesse, 385 F.2d at 704. Nor has this element that the intervenor shares with the main action a

“claim or defense” been “read in a technical sense.” Brooks, 63 F.R.D. at 415. Permissive

intervention requires only the existence of a “nominate” or a “presence” question of law or fact

in the intervenor’s action or the original plaintiff’s action which is shared with the other’s action.

Nuesse, 385 F.2d at 704.

       Here, Ms. Carroll sued Trump for “libelous and slanderous” defamatory statements, but

the Southern District Court of New York states that it remains unclear whether the rape

happened. Opinion, Carroll v. Trump, No. 1:20-cv-07311-LAK (S.D.N.Y. 20__), Dkt. 32 at 3,

para. 1. Likewise, I sued President Trump for defamation-slander, and a court has not yet found

whether the facts material to the defamatory statements happened. Id. Both allegations are made

in Mr. Trump’s personal capacity, although I have also added allegations to Mr. Trump’s United

States Presidential capacity. Compare EEOC, 146 F.3d at 1047 (identity of defendants, functions

of a space, and patterns of misconduct may constitute common question of facts between the

main action and the intervenor’s action) with here (identity of defendant-Trump and patterns of

defamation-related law misconducts). Compare Nationwide, 205 F.R.D. at 1-6 (the presence of

the same fact, carbon monoxide, in a main-contracts action and intervenor’s non-contracts action

constituted a common question of fact for permissive intervention) and EEOC, 146 F.3d at 1047

(common facts between the main action and the intervenor’s claim were the individual

defendants themselves) with here (Donald J. Trump, in his personal capacity, is present in both

the main action and throughout my intervention; a common question of fact is about the

existence of Trump when in his personal capacity).

   Therefore, Ms. Carroll and I share a “common” question of law or fact that is either alike as

“common,” “the same,” “nominate”-difficult-to-find (i.e. not-specific), or with “presence.” Fed.




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R. Civ. P. 24(b)(1); Enterprise Ass’n, 347 F.Supp. at 166; and Nuesse, 385 F.2d at 704.

Currently, I feel like that my right to sue, Due Processes, and Equal Protection Clause, and this

District Court’s its own authority and precedent, per Enterprise Association, and my rights under

international law, permit permissive intervention. Enterprise Ass’n, 347 F.Supp. at 166 and

Universal Declaration of Human Rights.




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                                        CONCLUSION

       For the foregoing reasons, I, Raj K. Patel, respectfully request that Southern District

Court of New York grant my permissive intervention.



Dated: October 27, 2020



                                                     Respectfully submitted,



                                                     /s/ Raj K. Patel
                                                     1239 Spring Lake Drive
                                                     Brownsburg, IN 46112
                                                     Hendricks County
                                                     317-450-6651 (cell)
                                                     rajp2010@gmail.com
                                                     raj@rajpatel.live

                                                     Pro se


                                                     J.D. Candidate, Notre Dame L. Sch. 2021 or
                                                         2022
                                                     President/Student Body President, Student
                                                         Gov’t Ass’n of Emory U., Inc. 2013-
                                                         2014
                                                     Student Body President, Brownsburg Cmty.
                                                         Sch. Corp./President, Brownsburg High
                                                         Sch. Student Gov’t 2009-2010
                                                     Rep. from the Notre Dame L. Sch. Student
                                                         B. Ass’n to the Ind. St. B. Ass’n 2017
                                                     Deputy Regional Director, Young
                                                         Democrats of Am.-High Sch. Caucus
                                                         2008-2009
                                                     Co-Founder & Vice Chair, Ind. High Sch.
                                                         Democrats 2009-2010
                                                     Vice President of Fin. (Indep.), Oxford C.
                                                         Republicans of Emory U., Inc. 2011-
                                                         2012




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                                 CERTIFICATE OF SERVICE

I, Raj K. Patel, certify that I filed the preceding Motion for Intervention by e-mail, and I certify
that I provided notice of filing to all counsel of record listed below by e-mail:

Roberta Ann Kaplan                                     Stephen Terrell
Joshua Adam Matz                                       DOJ-Enrd
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Dated: October 27, 2020



                                                       Respectfully submitted,



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